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                                     UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                          No. 1:11-cr-354 LJO
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                        Plaintiff,                      STIPULATED REQUEST TO HOLD IN
12                                                      ABEYANCE DEFENDANT’S MOTION
            v.                                          TO REDUCE SENTENCE;
13                                                      Order
     FELIPE GUTIERREZ,
14
                        Defendant.                      Judge: Honorable LAWRENCE J. O’NEILL
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            On May 5, 2015, Defendant, FELIPE GUTIERREZ, filed a pro se motion to reduce
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     sentence pursuant to 18 U.S.C. § 3582(c)(2). On June 22, 2015, defense counsel and the
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     government stipulated to a briefing schedule, which was later extended by stipulated motion. CR
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     599, 605. Defense memorandum in support of Mr. Gutierrez’ motion to reduce is currently due
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     August 7, 2015.
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            Mr. Gutierrez faces a bar to his eligibility for relief under section 3582(c)(2) based on the
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     nature and content of his plea agreement, which was offered to the Court under Federal Rule of
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     Criminal Procedure 11(c)(1)(C). Under current Ninth Circuit law, a (c)(1)(C) binding plea
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     agreement must either specify a particular Guideline range within which the defendant is to be
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     sentenced or explicitly state a particular Guideline range on which the defendant’s specific
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     sentence is based, in order for the defendant to be eligible for a reduction under 18 U.S.C. §
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     3582(c)(2). See U.S. v. Austin, 676 F.3d 924 (9th Cir. 2012). This formulation derives from
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     Justice Sotomayor’s concurring opinion in Freeman v. U.S., 131 S. Ct. 2685 (2011) (a fractured
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     4-1-4 opinion), which Austin held to be the controlling opinion pursuant to Marks v. United
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     States, 430 U.S. 188 (1977) (“Justice Sotomayor’s concurrence is the controlling opinion because
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     it reached this conclusion [that a (c)(1)(C) agreement did not bar eligibility for a sentence
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     reduction] on the ‘narrowest grounds.’” Austin, 676 F. 3d at 927-28). Defense does not dispute
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     that Ninth Circuit law under Austin likely precludes a reduction in Mr. Gutierrez’ case, based on
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     the fact that his binding plea agreement does not contain reference to a particular guideline range
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     as the basis for sentence.
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            However, the Ninth Circuit has granted en banc review of the recent case U.S. v. Davis,
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     776 F.3d 1088 (9th Cir. 2015) to consider whether Austin was correctly decided. Case No. 12-
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     30133, Dkt 38. If this Circuit ultimately rejects Austin’s finding that Justice Sotomayor’s opinion
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     controls on the very issue barring Mr. Gutierrez from the requested relief, it may fashion a new
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     and different rule that would be applicable to Mr. Gutierrez’ case. In other words, the parties
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     respectfully submit that this Court should await the resolution of the en banc review in Davis to
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     ascertain the law to be applied to Mr. Gutierrez’ motion for a sentence reduction.
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            To allow time for a decision from the Ninth Circuit’s en banc panel, the parties stipulate
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     and respectfully request that this Court continue Mr. Gutierrez’ motion for sentence reduction
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     until December 7, 2015, at which time the parties will submit a status memo to the Court.
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     Dated: August 5, 2015                                Dated: August 7, 2015
 5
     BENJAMIN B. WAGNER                                   HEATHER E. WILLIAMS
 6   United States Attorney                               Federal Defender

 7
     /s/ Kathleen A. Servatius____                        /s/ Hannah R. Labaree
 8   KATHLEEN A. SERVATIUS                                HANNAH R. LABAREE
     Assistant U.S. Attorney                              Assistant Federal Defender
 9
     Attorney for Plaintiff                               Attorney for Movant
10   UNITED STATES OF AMERICA                             FELIPE GUTIERREZ

11
                                                  ORDER
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            Pursuant to the parties’ stipulation, and good cause appearing therefor, the briefing
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     schedule for Mr. Gutierrez’ motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) is
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     VACATED, and a status memo from both parties will be due December 7, 2015.
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16   IT IS SO ORDERED
     Dated: August 11, 2015
17                                                     /s/ Lawrence J. O’Neill
18                                                    United States District Judge

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